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UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND

UNITED STATES OF AMERICA
Vv.
ANISSA MAROOF, Criminal Action No. TDC-24-0066

Defendant.

SCHEDULING ORDER

This scheduling order establishes a motions deadline, sets a date for an Initial Status
Conference, and details pretrial procedures.

Any party who believes that any deadline or requirement set forth in this Scheduling Order
should be modified for this case may submit to the Court a written request for a modification of
the Order by the motions deadline stated below. Such requests will be addressed at the Initial
Status Conference.

E COMPLIANCE WITH LOCAL RULES AND CM/ECF PROCEDURES

The Court requires compliance with all Local Rules, available at
https://www.mdd.uscourts.gov/local-rules.

Parties are required to file electronically through the Court’s Case Management/Electronic
Case Filing (CM/ECF) system. Elec. Case Filing Policies and Procedures Manual (D. Md. Dec.
2016), http://www.mdd.uscourts.gov/sites/mdd/files/;CMECF ProceduresManual.pdf. Parties
must use the electronic filing system to file documents with the Clerk and to send case-related
correspondence to Chambers. When a party electronically files a document that, including
attachments, is 15 pages or longer, the party must also provide paper copies of the document and
the notice of electronic filing. /d. § IIJ(D). The paper copies should be sent to the Clerk’s Office.

IL. DISCOVERY

The Government must produce all materials in its possession and control subject to
discovery under Federal Rule of Criminal Procedure 16 within 21 days of arraignment. For this
purpose “the Government” consists of all federal agencies and all state or local law enforcement
agencies that have participated in any way in the investigation or prosecution of this case. If certain
Rule 16 discovery materials cannot be produced by this deadline, the Government shall state, in a
memorandum filed before that deadline or on the record at the Initial Status Conference, the
categories and volume of remaining discovery, an explanation for the delay in production, and a
proposed deadline for the production of remaining Rule 16 material. At the Initial Status
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Conference or by written Order, the Court shall set a deadline for the Government’s production of
remaining Rule 16 discovery and the Defendant’s production of Rule 16 discovery.

Il. MOTIONS

All pretrial motions, except for motions in limine, must be filed by April 30, 2024. Any
motion must be asserted for the purpose of seeking resolution of an issue that the moving party in
good faith believes (1) needs to be resolved prior to trial; and (2) reasonably could be resolved in
the moving party’s favor. “Placeholder” motions seeking suppression of evidence or other
substantive relief that are filed for the sole purpose of excluding time under the Speedy Trial Act
are not permitted. Motions and supporting memoranda must recite the relevant facts and legal
authorities with enough particularity to enable the Court to render a decision.

The parties may at any time file a motion seeking to exclude time under the Speedy Trial
Act. Such a motion shall be accompanied by a proposed Order that includes specific proposed
findings under 18 U.S.C. § 3161(h).

Per Local Rule 105.2(a), which applies to criminal proceedings as specified in Local Rule
207, a memorandum of law in opposition to any pretrial motion must be filed within 14 days of
service of the motion. Any reply memorandum must be filed within 14 days of service of the
response. If the parties wish to alter this schedule, they must file a joint motion for an extension.
That joint motion must be filed by no later than the response deadline.

IV. INITIAL STATUS CONFERENCE
An Initial Status Conference will be held via teleconference on May 15, 2024 at 9:30 a.m.
The Court will circulate a call-in number prior to the teleconference. The parties should be

prepared to address the following issues at the Initial Status Conference:

1. Whether Rule 16 discovery is complete and, if not, a proposed deadline for the
completion of discovery.

2. Any pending motions and any proposed changes to the briefing schedule.

3. Whether a hearing is necessary on any pending motion, and, if so, a proposed date for
the hearing.

4. The status of any negotiations between the parties that might lead to a change of plea,
and, if so, a proposed date for the entry of a guilty plea.

5. The number of days remaining before the case must proceed to trial in order to comply
with the Speedy Trial Act, 18 U.S.C. §§ 3161-3174.

6. If counsel believe the case will go to trial, an updated estimate as to the length of and
possible dates for the trial.
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The parties are expected to meet and confer on these issues in advance of the Initial Status
Conference and, if possible, present joint views to the Court.

N, JOINT STATUS REPORT (IN LIEU OF THE INITIAL STATUS CONFERENCE)

The parties may submit a Joint Status Report in lieu of the Initial Status Conference. That
report shall address the enumerated issues in Part III and shall be accompanied by:

1. If there are any proposed changes to the briefing schedule on any pending motions, a
joint motion to continue the briefing schedule on those motions until the date of the
next status conference, with a proposed Order.

2. If no motions are pending, a joint motion to exclude time under the Speedy Trial Act
until the date of the next status conference, with a proposed Order.

The Joint Written Status Report must be submitted three days before the scheduled Initial Status
Conference. If the Court receives a Joint Status Report, the Initial Status Conference will be
rescheduled for approximately 30 days after the Report is submitted. The Initial Status
Conference will be rescheduled only once. After the Initial Status Conference, the Court will
not accept a Joint Status Report in lieu of any second or subsequent Status Conference.

VI. PRETRIAL SCHEDULE

Unless otherwise ordered by the Court, the following productions to the opposing party or
filings to the Court are due on the following dates:

Production/Filing Days Before Trial
Defendant’s Rule 16 Expert Discovery 90 days
Motions in Limine on Expert Witnesses 60 days
Responses to Motions in Limine on Expert Witnesses 45 days
Defendant’s Other Rule 16 Discovery 30 days
Rule 404(b) Notices 30 days
Other Motions in Limine 21 days
Responses to Other Motions in Limine 14 days
Rule 902 Document Certifications 14 days
Rule 1006 Summary Chart Notices 14 days
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Joint Proposed Voir Dire Questions 14 days
Joint Proposed Jury Instructions 14 days
Joint Proposed Verdict Form 14 days
Government’s Exhibit List and Witness List 1 Day of Trial
Defendant’s Exhibit List and Witness List 1 Day of Trial

The Court will provide the parties with its templates for the joint proposed voir dire
questions, jury instructions, and verdict form. The parties are expected to use the
specific formatting of those template files and add to the standard questions and
instructions as needed. If the parties are unable to agree completely on particular voir
dire questions, jury instructions, or verdict form language, they should identify in their joint
submission those items on which there is disagreement and include each party’s proposed
language for those items.

A pre-trial conference will be scheduled for approximately five days before the start of
trial. The parties shall be prepared to argue any remaining motions in /imine and to discuss
the voir dire questions, jury instructions, and verdict form.

GENERAL REQUIREMENTS

1. Motions to Continue: Any request for a continuance must be made in a written motion
and docketed on CM/ECF.

2. Written Filings: No filings with the court, including sentencing memoranda, may be
submitted in the form of a letter. Instead, all filings must have a caption and should
comply with Local Rules 105.3 and 207 relating to page limits. In addition, all briefs
must be double-spaced and in 12-point Times New Roman font, including
footnotes, and the document margins must be 1” on all sides. Footnotes are
limited to no more than five single-spaced lines on any single page. Deadlines,
including those in the Sentencing Order, will be strictly enforced.

3. Internet Citations: Any citations to internet sources must be accompanied by a copy
of the cited webpage attached as an exhibit.

4. Audio or Video Exhibits: All audio file exhibits must be in .mp3 format. All video
file exhibits must be in .mp4 format. Any passwords must be submitted in a docketed
filing under seal. The case name and exhibit number must be written on the disc itself.
All audio and video exhibits must be accompanied by a transcript in both hard copy
and as an electronic PDF file. Any files not conforming to these requirements will
be stricken.

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5. Charging Documents: In cases involving a guilty plea, the relevant charging
document must be docketed at least 48 hours before a rearraignment hearing, and the
plea agreement must be provided to the Court at least 48 hours before a rearraignment

hearing.

Date: April {2024

THEODORE D. CH
United States District J
